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                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA

IN RE: ROUNDUP PRODUCTS
LIABILITY LITIGATION
                                                       Master Docket Case No.: 16-md-02741-VC
                                                       MDL No. 2741

This document relates to:

ESTATE OF GERALD HELMICH, by and
through his representative, Paul Helmich,
surviving son of Gerald Helmich on behalf of all
legal heirs of Gerald Helmich v. Monsanto Co.
Case No.: 3:20-cv-05941-VC |
________________________________________


                        DECLARATION OF JESSIE M. DJATA, ESQ.

       Pursuant to this Court’s Order dated, March 24, 2024 (See 3:16-md-02741-VC

document number 18130 and 3:20-cv-05941-VC doc number 18) I, Jessie M. Djata, do

hereby declare and state as follows:

       1.      I am an attorney admitted to practice in the Northern District of California for the

Roundup Products Liability Litigation and represent the Estate of Gerald Helmich.

       2.      This Declaration is being submitted pursuant to the Court’s March 24, 2024 Order

(See 3:16-md-02741-VC document number 18130 and 3:20-cv-05941-VC doc number

18) directing that Counsel for the Plaintiffs file a declaration describing the efforts undertaken to

secure substitute counsel for the Plaintiffs.

       3.      I have made the following efforts to secure substitute counsel on this matter:

                   -   Christopher Berloth of Duke, Holzman, Photiadis & Gresens, LLP - July
                       2023

                   -   Joe Vasquez - The Barnes Firm (July & August 2023)
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                   -   Nicholas Shemick - The Dietrich Law Firm PC (July 2023)

                   -   Brian Alan Goldstein - Goldstein Greco, P.C. (July 2023)

                   -   Kevin J. Madonna of Kennedy & Madonna, LLP (July/Aug 2023)

                   -   Daniel Christopher Burke - Bernstein Liebhard LLP (July/Aug 2023)

                   -   Kelly Kristine McNabb - Lieff Cabraser Heimann Bernstein, LLP
                       (July/Aug 2023)
                   -
                   -   Douglas Ian Cuthbertson - Lieff Cabraser Heimann & Berstein, LLP - NY
                       (July/Aug 2023)

                       Michael Andrew London - Douglas & London, P.C. (July/Aug 2023)

                   -   Eric T. Chaffin - Chaffin Luhana LLP (July/Aug 2023)

                   -   Eva Kennedy, ESQ - Gruenberg Kelly Della (Feb/March 2024)

                   -   Kline & Spector PC - June 2024 - Ongoing

       4.      While I have continued to make efforts to secure substitute counsel, my clients are

also exploring the possibility of settlement.

Having reviewed this Declaration, I declare, under penalty of perjury, that the foregoing is true

and correct.

Dated: July 1, 2024
New York, New York                                           Respectfully submitted,




                                                             ______________________________
                                                             Jessie M. Djata, Esq.
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                                                             New York, New York 10035
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                                                             New York Bar No. 2802551
                                                             Email: jmdlawyer@gmail.com
                                                             ATTORNEYS FOR PLAINTIFF
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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 1, 2024, I served a copy of the foregoing on the Clerk of
Court by CM/ECF, which will provide automatic notification to all parties and counsel of record.

                                                           By:




                                                           ______________________________
                                                           Jessie M. Djata, Esq.
